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                      MILMAN LABUDA LAW GROUP PLLC
                                      3000 MARCUS AVENUE
                                            SUITE 3W8
                                     LAKE SUCCESS, NY 11042
                                             _________

                                    TELEPHONE (516) 328-8899
                                    FACSIMILE (516) 328-0082
                                                                             October 6, 2023
VIA ECF
United States District Court
Eastern District of New York
Attn: Hon. Carol B. Amon, U.S.D.J.
225 Cadman Plaza East
Courtroom 10D South
Brooklyn, NY 11201-1804

       Re:     Martinez, et al. v. Atlantis Super Wash Center Inc., et al.
               Case No.: 1:23-cv-4667 (CBA) (PK)___________________

Dear Judge Amon:

        This firm represents Defendants Atlantis Super Wash Center Inc., Clean City Laundry Inc.,
and Nick Mira (collectively hereinafter the “Defendants”), who submit this letter motion in
accordance with ¶ 3(A) of this Court’s Individual Motion Practices and Rules to respectfully
request: (i) a pre-motion conference in anticipation of Defendants’ motion to dismiss the complaint
for lack of subject matter jurisdiction and failure to state a claim upon which relief can be granted
pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure (hereinafter
referred to as “Rules” or “Rule”); and (ii) a mediation referral Order pursuant to Local Civil Rule
83.8 of the Local Rules of the United States District Courts for the Southern and Eastern Districts
of New York (hereinafter the “Local Rules” or “LCR”).

       Defendants provide the basis of their anticipated motion below.

Relevant Background

         On June 22, 2023, Plaintiffs Ester Martinez (“Martinez”), Leria Perez Zapata (“Zapata”),
and Mateo Guzman (“Guzman”) (Martinez, Zapata, and Guzman collectively hereinafter the
“Plaintiffs”) commenced the instant case asserting causes of action under: (i) the Fair Labor
Standards Act (“FLSA”) for unpaid overtime wages; (ii) the New York Labor Law (“NYLL”) for
unpaid overtime wages; (iii) the NYLL for failure to furnish wage notices; (iv) the NYLL for
failure to provide wage statements; (v) the NYLL for failure to pay minimum wages; and (vi) the
NYLL for spread of hours compensation. See Docket Entry 1.

This Court Should Dismiss Plaintiff’s Wage-and-Hour Claims for Failure to State a Claim

        Plaintiffs allege that Martinez generally worked anywhere from 47.5 to 73.5 hours each
week and was paid $13.00 to $15.00 per hour, but was not compensated for all hours worked. See
Id. at ¶¶ 30-40 (“Defendants failed to pay Martinez overtime compensation for all hours that she
worked in excess of 40 each week”).
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       Plaintiffs also allege that Zapata generally worked anywhere from 47.5 to 57.5 hours each
week and was paid $90.00 per day or $11.00 per hour, but was not compensated for all hours
worked. See Id. at ¶¶ 44-53 (“Defendants failed to pay Zapata overtime compensation for all
hours that she worked in excess of 40 each week”).

        Plaintiffs similarly allege that Guzman generally worked 66 hours each week and was paid
$600.00 per week, but was not compensated for all hours worked. See Id. at ¶¶ 57-63 (“Defendants
failed to pay Guzman overtime compensation for all hours that she worked in excess of 40 each
week”).

        The FLSA requires that a covered employee be compensated at a rate of no less than one
and one-half times the regular rate of pay for any hours worked in excess of forty per week. See
29 U.S.C. § 207(a)(1). The NYLL adopts this same standard. See 12 NYCRR § 142–2.2 (2011)
(incorporating the FLSA definition of overtime into the NYLL). “[T]o survive a motion to dismiss
[an FLSA overtime claim], [p]laintiffs must allege sufficient factual matter to state a plausible
claim that they worked compensable overtime in a workweek longer than [forty (40)] hours.” See
Lundy v. Catholic Health System of Long Island Inc., 711 F.3d 106, 114 (2d Cir. 2013); see also
Nakahata v. New York-Presbyterian Healthcare Sys., Inc., 723 F.3d 192, 200 (2d Cir. 2013).

        Allegations that a plaintiff “regularly worked” more than forty hours per week are
insufficient to state a claim. See Dejesus v. HF Mgmt. Servs., LLC, 726 F.3d 85, 89-90 (2d Cir.
2013) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570); Nakahata, 723 F.3d at 199-201;
Gisomme v. HealthEx Corp., No. 13-CIV.-2541, 2014 WL 2041824, at *2 (E.D.N.Y. May 15,
2014) (concluding Plaintiff’s “allegation of an ‘average’ of 50 hours or more” per week insufficient
to “state a claim for failure to pay overtime compensation in a given workweek” (internal quotation
marks omitted)).

       Here, Plaintiffs fail to remotely meet the plausibility standard required to state a claim for
his wage-and-hour causes of action. They fail to identify a single week in which any of them
worked and were not paid at least the minimum wage or any overtime wages. Accordingly, their
wage-and-hour claims must be dismissed.

This Court Should Decline to Exercise Supplemental Jurisdiction over the State Law Claims

        The only basis for this Court to have subject matter jurisdiction is the federal question
posed by Plaintiff’s FLSA claims. See 28 U.S.C. § 1331. Defendants respectfully submit that this
Court should decline to exercise supplemental jurisdiction over the causes of action under the
NYLL in this case except for the overtime and minimum wage claims, which should be dismissed
for the same reasons set forth supra.

        When a district court has original jurisdiction over claims in a case, it “shall have
supplemental jurisdiction over all other claims that are so related to claims in the action ... that
they form part of the same case or controversy under Article III.’” See F5 Capital v. Pappas, 856
F.3d 61, 77 (2d Cir. 2017) (quoting 28 U.S.C. § 1367(a)).



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        “Pendent jurisdiction ... exists whenever there is a claim ‘arising under [federal law],’ and
the relationship between that claim and the state claim permits the conclusion that the entire action
before the court comprises but one constitutional ‘case.’” See United Mine Workers of Am. v.
Gibbs, 383 U.S. 715, 725 (1966) (quoting U.S. Const. art. III, § 2) (emphasis added))). Claims
are considered “‘part of the same case or controversy’ if they ‘derive from a common nucleus of
operative fact.’” See Shahriar v. Smith & Wollensky Rest. Grp., Inc., 659 F.3d 234, 245 (2d Cir.
2011) (quoting Briarpatch Ltd., L.P. v. Phoenix Pictures, Inc., 373 F.3d 296, 308 (2d Cir. 2004)).

        Here, the only federal claims raised arise under the FLSA. As such, only the NYLL claims
for unpaid minimum wage and unpaid overtime may properly form the basis for having a
relationship to the FLSA claims for the identical issues. Consequently, the remaining state law
claims – recordkeeping violations and spread of hours compensation – have no common nucleus
of operative facts with Plaintiff’s overtime claims under federal law.

       Accordingly, this Court must dismiss decline to exercise supplemental jurisdiction over the
remaining claims as they cannot be considered “part of the same case or controversy” nor “derive
from a common nucleus of operative fact.”

The Parties’ Joint Request for a Mediation Referral Order Should be Granted

       The parties have conferred and respectfully request, jointly, that a mediation referral Order
be entered pursuant to LCR 83.8, as doing so comports with Rule 1, which requires that the Rules
should be construed, administered, and employed by the court and the parties to secure the just,
speedy, and inexpensive determination of every action and proceeding. See Fed. R. Civ. P. 1
(emphasis added).

       For the foregoing reasons, Defendants request a mediation referral Order and, barring a
settlement following a mediation, that a pre-motion conference be scheduled.

Dated: Lake Success, New York
       October 6, 2023                        Respectfully submitted,
                                              MILMAN LABUDA LAW GROUP PLLC
                                              _______/s____________________________
                                              Emanuel Kataev, Esq.
                                              3000 Marcus Avenue, Suite 3W8
                                              Lake Success, NY 11042-1073
                                              (516) 328-8899 (office)
                                              (516) 303-1395 (direct dial)
                                              (516) 328-0082 (facsimile)
                                              emanuel@mllaborlaw.com

                                              Attorneys for Defendants
                                              Atlantis Super Wash Center Inc.,
                                              Clean City Laundry Inc., and
                                              Nick Mira


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VIA ECF
The NHG Law Group, P.C.
Attn: Justin M. Reilly, Esq.
4242 Merrick Road
Massapequa, NY 11758
justin@nhglaw.com

Attorneys for Plaintiffs
Ester Martinez,
Leria Perez Zapata, and
Mateo Guzman
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